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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION

                                                   CASE NO. 0:17-cv-60599-WPD
  STEPHEN ARONSON,

         Plaintiff,
                                                   PLAINTIFF’S MOTION FOR
  v.                                               DEFAULT JUDGMENT

  MIDWEST RECOVERY SYSTEMS, LLC
  AND O’BRIEN, WEXLER & ASSOCIATES, LLC,

        Defendants.
  ________________________________________________________________________

         Plaintiff Stephen Aronson (“Plaintiff”), respectfully moves this Honorable Court for

  an Order of Default Judgment against Defendants Midwest Recovery Systems, LLC

  (“Midwest”) and O’Brien, Wexler & Associates, LLC (“O’Brien”) (collectively,

  “Defendants”), as provided by Rule 55(b) of the Federal Rules of Civil Procedure, in the

  amount of $4,513.20, based upon the Declaration of Plaintiff’s counsel, Alex D. Weisberg

  attached hereto, and for the reasons set forth below. Plaintiff asks that judgment bear

  interest at the judgment rate from the date of entry until paid, as well as any additional

  relief this Court deems necessary and proper. Plaintiff does not request a hearing on

  damages.

         This Court should enter Default Judgment against Defendants, and in favor of

  Plaintiff, because:

         1.     The Clerk of this Court entered Default against Defendants on May 25, 2017

  (Doc. 10).


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         2.    Defendants have not appeared in this action, and are not entitled to notice of

  this Motion for Default Judgment, although same is being provided.

         3.    The Complaint in this action sets out a valid claim for damages under the

  Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. By virtue of the

  entry of Default on May 25, 2017, Defendants may not challenge any of the factual

  allegations supporting those claims.

         4.    Defendants are neither infants, nor incompetent persons, within the meaning

  of Rule 55(a) of the Federal Rules of Civil Procedure.

         5.    Defendants are not currently serving in the military as defined in the

  Servicemembers Civil Relief Act.

         6.    This motion is based upon all pleadings and papers on file in this action, the

  Clerk’s Entry of Default, the attached declaration, and whatever other evidence the Court

  requests.

         Accordingly, Plaintiff moves for default judgment against Defendants in the amount

  of $4,513.20, comprising statutory damages in the amount of $1,000.00 in accordance with

  15 U.S.C. § 1692(k)(a)(2)(A), $3,000.00 in reasonable attorney’s fees and court costs in

  the amount of $513.20 in accordance with 15 U.S.C. § 1692(k)(a)(3).

         Dated: June 7, 2017.

                                           Respectfully submitted,

                                           /s/ Alex D. Weisberg
                                           Alex D. Weisberg
                                           FBN: 0566551
                                           Weisberg Consumer Law Group, PA
                                           Attorneys for Plaintiff

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                                            (866) 577-0963 fax
                                            aweisberg@afclaw.com




                              CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2017, Plaintiff’s Motion for Default Judgment was

  filed electronically with the Clerk of the U.S. District Court for the Southern District of

  Florida using the CM/ECF system. I further certify that on June 7, 2017, a copy of the

  foregoing Motion for Default Judgment was served on Defendants via U.S. mail as follows:

         Midwest Recovery Systems, LLC             O'Brien, Wexler & Associates, LLC
         c/o Corporation Service Company           c/o Corporation Service Company
         1201 Hays St.                             80 State St.
         Tallahassee, FL 32301                     Albany, NY 12207

                                            /s/Tremain Davis
                                            Tremain Davis




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